       Case 12-27642                          Doc 160                 Filed 05/02/18 Entered 05/02/18 10:15:41                                      Desc Main
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 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)               (post publication draft)
 Debtor 1              DONAL MARTIN MCDONAGH
                       __________________________________________________________________

 Debtor 2               MICHELE    RAWLS MCDONAGH
                        ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________
                                         Western District     of __________
                                                          of Tennessee
                                                     District

 Case number            12-27642
                        ___________________________________________




2IILFLDO)RUP 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                                        12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                               Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not in its
                               individual capacity but solely in its capacity as Certificate Trustee for NNPL
                               Trust Series 2012-1
 Name of creditor: _______________________________________                                                        Court claim no. (if known): 21
                                                                                                                                              __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                                          5 ____
                                                                        ____ 8 ____
                                                                                 8 ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
       No
 
 ✔                                    12/27/2017
        Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                                                Dates incurred                                          Amount

  1. Late charges                                                                                _________________________________                 (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                                             _________________________________                 (2)   $ __________
  3. Attorney fees                                                                               _________________________________                 (3)   $ __________
  4. Filing fees and court costs                                                                 _________________________________                 (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                                              _________________________________                 (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                                                       _________________________________                 (6)   $ __________
  7. Property inspection fees                                                                    01/05/2018 $15, 02/08/2018 $15, 04/04/2018 $15
                                                                                                 _________________________________                 (7)          45.00
                                                                                                                                                         $ __________
  8. Tax advances (non-escrow)                                                                   _________________________________                 (8)   $ __________
  9. Insurance advances (non-escrow)                                                             _________________________________                 (9)   $ __________
 10. Property preservation expenses. Specify:_______________                                     _________________________________                (10)   $ __________
 11. Other. Specify:____________________________________
                                                                                                _________________________________                (11)   $ __________
 12. Other. Specify:____________________________________                                         _________________________________                (12)   $ __________
 13. Other. Specify:____________________________________                                         _________________________________                (13)   $ __________
 14. Other. Specify:____________________________________                                         _________________________________                (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1     DONAL      MARTIN        MCDONAGH
             _______________________________________________________
             First Name   Middle Name      Last Name
                                                                                                         12-27642
                                                                                     Case number (if known) _____________________________________




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  
  ✔ I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            8 /s/ Ankita Gupta
                 __________________________________________________
                 Signature
                                                                                     Date    05/02/2018
                                                                                             ___________________




 Print:           Ankita Gupta
                 _________________________________________________________           Title   Claims Processor
                                                                                             ___________________________
                 First Name                Middle Name        Last Name



 Company          AIS Portfolio Services, LP
                 _________________________________________________________



 Address          P.O. Box 201347
                 _________________________________________________________
                 Number           Street
                  Arlington                       TX      76006
                 ___________________________________________________
                 City                                         State       ZIP Code




 Contact phone    888-455-6662
                 _______________________                                             Email ________________________




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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE Western DISTRICT OF Tennessee
                                                   MEMPHIS Division

IN RE:                                                                    Judge: David S. Kennedy
                                                                          Case No. 12-27642

Case Name: Donal Martin Mcdonagh AND Michele Rawls Mcdonagh

                Debtor(s).


                   NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES AND CHARGES

PLEASE BE ADVISED that on 05/02/2018 (the “Notice Date”), pursuant to Federal Rule of Bankruptcy Procedure 3002.1(c)
(the “Bankruptcy Rules”), SN Servicing Corporation filed a Notice of Postpetition Mortgage Fees, Expenses and Charges (the
“Notice”) on the Bankruptcy Court’s Claims Register, supplementing SN Servicing Corporation’s previously filed proof of claim.
The Notice was filed within 180 days after the date on which the fees, expenses and/or charges were incurred by Donal Martin
Mcdonagh AND Michele Rawls Mcdonagh. A copy of the Notice is attached hereto.

The filing of this Notice, via the Court’s Electronic Filing system, constitutes service upon the Chapter 13 Trustee and counsel for
the Debtor(s), pursuant to Bankruptcy Rule 3002.1 and all applicable Bankruptcy Rules. Further, a copy of the Notice was served
upon the Debtor(s) on the Notice Date, at the address listed below, via Electronic Notice or by First Class U.S. Mail, postage
prepaid, within 180 days after the date on which the fees, expenses and/or charges were incurred by Donal Martin Mcdonagh
AND Michele Rawls Mcdonagh.

Donal Martin Mcdonagh AND Michele Rawls Mcdonagh
2416 SANDERS RIDGE
GERMANTOWN,TN 38138

Date: 05/02/2018
                                                             By: /s/ Ankita Gupta________________
                                                                  Ankita Gupta, Claims Processor
                                                                  P.O. Box 165028
                                                                  Irving, TX 75016
                                                                  (817) 277-2011 Office
                                                                  (888) 455-6662 Toll Free
                                                                  (817) 461-8070 Fax
                                                                  Authorized Agent for Shellpoint Mortgage Servicing
         DEBTOR ATTORNEY:
         JAMES D GENTRY
         GENTRY ARNOLD & MITCHELL PLLC
         5100 POPLAR AVENUE SUITE 2008
         MEMPHIS,TN 38137

         TRUSTEE:
         GEORGE W STEVENSON
         Trustee of the U.S. Bankruptcy Court
         5350 POPLAR AVENUE SUITE 500
         MEMPHIS,TN 38119
